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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                  )         8:06CR243
                                           )
             Plaintiff,                    )
                                           )         ORDER
v.                                         )
                                           )
JAMARR HOLIDAY,                            )
                                           )
             Defendant.                    )



      UPON THE COURT’S OWN MOTION,

       IT IS ORDERED that the Change of Plea hearing is continued to February 6,
2007 at 10:00 a.m. before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second
Floor, Roman L. Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

       For this defendant, the time between January 31, 2006 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the
Speedy Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

      Since this is a criminal case, the defendant must be present, unless excused by
the Court.

      DATED this 31st day of January, 2007.

                                        BY THE COURT:


                                        s/ F.A. Gossett
                                        United States Magistrate Judge
